CaSe 1:16-cv-02075-NGG-S|\/|G Document 48 Filed 01/29/18 Page 1 of 1 Page|D #: 229

v
HURWITZ &FINE, P.C.

Da,,D_Koha,,e |ATToRNEYs AT LAW|
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January 29, 2018
Via ECF
Hon. Nicholas G. Garaufis
United States District Court
225 cadman Plaza`Easr
Brooklyn, NY l 1201

RE: Cem‘ury Surely Company v. Missz'on Desz`gn, eli al.
Civil Action No.: l:l6-OZO75-NGG-SMG

Dear Judge Garaufis:

Our office serves as counsel for Plaintiff, Century Surety Company, in the above-
matter. Per the Court’s Text Order of January lO, 2018, it granted Plaintiff’ s application for a
Pre~l\/lotion Conference. Plaintiff Was then directed to confer With all counsel and ultimately
schedule the conference.

ln conjunction With the discussions concerning scheduling, the merits of
Plaintiff s position Were revisited. Ultimately, counsel for the Defendants each advised that
upon consulting With their clients, they did not intend to oppose our proposed motion To the
credit of l\/lessers. Dietchweiler, Bordetsky and Slattery, they each let us know of their intent
before We troubled the Court With conducting a pre-motion conference, and before our office
took on the task of drafting the motion papers. We appreciate their professional courtesy.

Accordingly, We seek the court’s advice as to the appropriate manner of Wrapping
up this case. We Would propose submitting a Stipulated Order for the Court’s review in Which
the relief sought in our Complaint Would be granted, and it be ordered that Plaintiff has no
obligation to defend or indemnify any of the Defendants relative to the underlying action brought
by Juan Maurisaca. Please advise if this Would be acceptable

Thank you for your consideration
Respectfully submitted,

HURWITZ & FINE, P.C.
/s/ Dan D. Kohane

Dan D. Kohane
cc Kevin Slattery, Esq.
Barry M. Bordetsky, Esq.
Daniel O. DietchWeiler, Esq.

HEADQUARTERS; 1300 LLBERTY BUlLDlNG,BuFFALo,NEWYoRK 14202 v P:7168498900 v F:716855-0874 v WWW.HURWITZF!NE.coM
OFFlcESlN v BuFFALo, NEWYORK v ALBANY, NEWYORK v ALBIoN, NEWYORK v AMHERST, NEWYORK v MELvlLLE, NF.WYORK
LAKE PLACID,NEW YoRK v NIAGARA FALLS,NEW YoRK v PALM BEAcH GARDENS,FLoRLDA v ToRoNro,ONTARlo v FAx/E-MAIL NoT FoR SEvacE

